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PDA BOP

January 19, 2023, Ue sean
VIA ECF

The Honorable Lewis A. Kaplan
United States District Court
Southern District of New York
United States Courthouse

500 Pearl Street

New York, New York 10007

Re: United States v. Samuel Bankman-Fried, 22 Cr. 673 (LAK)

Dear Judge Kaplan:

On behalf of our client, Samuel Bankman-Fried, we write to advise the Court that the
parties have reached an agreement as to the bond amounts for the two remaining sureties and -
respectfully request that the Court update Mr. Bankman-Fried’s bail conditions to reflect that the
two non-parent sureties will sign separate appearance bonds prepared by the Magistrate Clerk’s
office in the amount of $500,000 and $200,000, respectively. The Government consents to this
request.

As the Court is aware, Mr. Bankman-Fried was released based on an agreed-upon bail
package approved by Magistrate Judge Gorenstein at the initial appearance on December 22,
2022, and modified by this Court at the initial pretrial conference on January 3, 2023. In
addition to a $250 million personal recognizance bond signed by Mr. Bankman-Fried and co-
signed by his parents, the bail conditions require “2 non-parent sureties to sign bonds in lesser
amounts to be agreed to.” ECF No. 14. The two non-parent sureties were interviewed and
approved by the government on January 4, 2023. However, we have since been informed that
the Magistrate Clerk’s office cannot create separate bonds for these sureties unless the bail
conditions specify the amounts.

We therefore respectfully request that the Court update the bail conditions to reflect that
the two non-parent sureties will sign separate appearance bonds prepared by the Magistrate
Clerk’s office in the amount of $500,000 and $200,000, respectively. We further request that the
names and addresses of the non-parent sureties be redacted from these bonds pursuant to the
Court’s ruling at the initial pretrial conference. See 1/3/2023 Tr. at 3.
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The Honorable Lewis A. Kaplan
January 19, 2023
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Respectfully submitted,

/s/ Christian R. Everdell
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